Case 1:11-cv-00538-DKW-BMK Document 71 Filed 03/19/13 Page 1 of 4   PageID.800




 CARL M. VARADY 4873-0
 LAW OFFICE OF CARL M. VARADY
 Pauahi Tower
 1003 Bishop Street, Suite 1730
 Honolulu, Hawai`i 96813
 Telephone: (808) 523-8447
 e-mail: carl@varadylaw.com

 Felicia Medina, Esq. (Cal. Bar. No. 255804)
 SANFORD HEISLER, LLP
 555 Montgomery Street, Suite 1206
 San Francisco, CA. 94111
 Telephone: (415) 795-2020
 Fax: (415) 795-2021
 email: fmedina@sanfordheisler.com

 Attorneys for Plaintiffs

                  IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAI‘I


  LIANE WILSON, and                       CIVIL NO. CV 11-00538 LEK BMK
  JOANNA WHEELER
                                          JOINT STIPULATION AND
                     Plaintiff,           ORDER TO AMEND ORDER
                                          STAYING DISCOVERY AND ALL
        vs.                               OTHER COURT DEADLINES TO
                                          APRIL 16, 2013
  WYNDHAM WORLDWIDE
  CORPORATION, WYNDHAM
  VACATION OWNERSHIP, INC.
  WYNDHAM VACATION RESORTS,
  INC., MICHAEL JONAH, MARK
  POLLARD, AND TOM VIRAGE

                     Defendants.
Case 1:11-cv-00538-DKW-BMK Document 71 Filed 03/19/13 Page 2 of 4             PageID.801




   JOINT STIPULATION AND ORDER TO AMEND ORDER STAYING
 DISCOVERY AND ALL OTHER COURT DEADLINES TO APRIL 16, 2013

       Pursuant to Federal Rule of Civil Procedure 26 and LR 10.4, Plaintiffs Liane

 Wilson and Joanna Wheeler and Defendants Wyndham Worldwide Corporation,

 Wyndham Vacation Ownership, Inc., Wyndham Vacation Resorts, Inc., Michael

 Jonah, Mark Pollard, and Tom Virag, acting through their prospective counsel of

 record, hereby stipulate and agree, subject to the approval of the Court, that the

 Court's February 5, 2013 Order Staying Discovery and All Other Court Deadlines

 Pending Private Mediation (Docket No. 69) be amended in accordance with the

 below:

       1)     On February 26, 2013, the parties participated in private mediation

              with Keith Hunter, Dispute Prevention & Resolution. The Parties

              reached an agreement with respect to resolution o Plaintiff Joanna

              Wheeler's claims.

       2)     The parties stipulate and request that the Court extend the current stay

              of discovery and all court deadlines to April 16,2013, in order to

              permit the parties to finalize the written settlement agreement

              pertaining to Ms. Wheeler's claims and to finalize a proposed

              amended Rule 16 Scheduling order regarding Plaintiff Liane Wilson's

              claims.

                                           2
Case 1:11-cv-00538-DKW-BMK Document 71 Filed 03/19/13 Page 3 of 4             PageID.802




       3)    On or before April 16, 2013, the parties will jointly submit a

             stipulation to dismiss Plaintiff Joanna Wheeler's claims AND a

             proposed amended Rule 16 scheduling order regarding Plaintiff Liane

             Wilson's claims, for the Court's consideration and ultimate entry.

       Dated: Honolulu, Hawai‘i, March 18, 2013

       Respectfully Submitted

 By:   /s/ Richard S. Cohen                  /s/Carl M. Varady, Esq.
                                             LAW OFFICE OF CARL M.
       Richard S. Cohen                      VARADY
       Jackson Lewis LLP                     Pauahi Tower
       2398 E. Camelback Road Suite          1003 Bishop Street, Suite 1730
                                             Honolulu, Hawai’i 96813
       #1060                                 Telephone: (808) 523-8447
       Phoenix, AZ 85016                     Facsimile: (808) 523-8448
       Telephone: (602) 714-7062
       Facsimile: (602) 714-7045             /s/Felicia Medina, Esq.
                                             SANFORD HEISLER, LLP
 Attorney for Defendants Wyndham             555 Montgomery Street, Ste 1206
 Worldwide Corporation, Wyndham              San Francisco, CA 94111
 Vacation Ownership, Inc., Wyndham           Telephone: (415) 795-2020
 Vacation Resorts, Inc., Michael Jonah,      Fax: (415) 795-2021
 and Tom Virag
                                             Attorneys for Plaintiffs
       /s/ Wesley M. Fujimoto                Liane Wilson and Joanna Wheeler
       Wesley M. Fujimoto
       Ashford & Wriston
       Alii Place
       1099 Alakea St Ste 1400
       Honolulu, Hi 96813
 Attorney for Defendant Mark Pollard

                                      ORDER


 APPROVED AND SO ORDERED:
Case 1:11-cv-00538-DKW-BMK Document 71 Filed 03/19/13 Page 4 of 4     PageID.803




       Dated:      Honolulu, Hawai‘I, March 19, 2013.




                                      /S/ Barry M. Kurren
                                     Barry M. Kurren
                                     United States Magistrate Judge




 ______________________________________________________________________________
   CASE NO.: CV 11-00583 LEK BMK - JOINT STIPULATION AND ORDER TO AMEND
  ORDER STAYING DISCOVERY AND ALL OTHER COURT DEADLINES TO APRIL 16,
                                      2013
